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 1 NICHOLAS F. REYES, #102114
   LAW OFFICES OF NICHOLAS F. REYES
 2 1107 R STREET
   FRESNO, CA 93721
 3 Telephone: 559-486-4500
   Facsimile: 559-486-4533
 4 Email: reyesf@earthlink.net

 5 Attorney for Defendant
   JUAN ANGEL LOPEZ
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 7

 8                            IN THE UNITED STATES DISTRICT COURT

 9                              EASTERN DISTRICT OF CALIFORNIA

10   UNITED STATES OF AMERICA,                         CASE NO. 1:14-CR-148-LJO
11                              Plaintiff,             STIPULATION TO CONTINUE
                                                       SENTENCING
12   v.
13   JUAN ANGEL LOPEZ,
14                              Defendant.
15

16         Defendant, JUAN ANGEL LOPEZ, by and through his counsel of record,
17 NICHOLAS F. REYES, and Plaintiff, UNITED STATES OF AMERICA, by and

18 through its counsel of record, BRIAN DELANEY, Assistant United States Attorney for the

19 Eastern District of California, hereby stipulate that the sentencing in the above-referenced
20 case currently scheduled for Monday, December 22, 2014, at 8:30 a.m. be continued to

21 Monday, February 23, 2015 at 8:30 a.m. in the courtroom for the Honorable Lawrence J.

22 O’Neill, District Judge.

23         This stipulation is based on good cause since all parties are still awaiting drug analysis
24 from DEA and require time to resolve sentencing issues.

25
     IT IS SO STIPULATED
26                                                     Respectfully submitted,
27 Dated: 12-10-14                                     /s/ Nicholas F. Reyes
                                                       NICHOLAS F. REYES
28                                                     Attorney for Defendant
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          Case 1:14-cr-00148-JLT-SKO Document 50 Filed 12/10/14 Page 2 of 2



 1 IT IS SO STIPULATED

 2

 3 Dated: 12-10-14                             /s/ Brian Delaney
                                               BRIAN DELANEY
 4                                             Assistant U.S. Attorney
 5
     IT IS SO ORDERED.
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 7     Dated:   December 10, 2014                /s/ Lawrence J. O’Neill
                                           UNITED STATES DISTRICT JUDGE
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